Case 1:17-md-02800-TWT Document 1182-3 Filed 09/21/20 Page 1 of 9




                       EXHIBIT 2
                               Case 1:17-md-02800-TWT Document 1182-3 Filed 09/21/20 Page 2 of 9
                 CLASS ACTION SETTLEMENTS OF DATA BREACH CASES BROUGHT BY FINANCIAL INSTITUTIONS


                                           EST. NO. OF
              CASE                                                            CLASS DEFINITION                         SETTLEMENT TERMS
                                         CARDS IMPACTED

In re: Target Corp. Customer Data   40 million total payment cards      Class is defined as: “All entities   Target agreed to pay $39,357,939.38:
Sec. Breach Litig., No. 0:14-md-    Class settlement includes           in the United States and its         $20,250,000 to settlement class members;
02522 (D. Minn.) (“Target”)         approximately 10.9 million alerted- Territories that (i) issued          and $19,107,939.38 to MasterCard’s ADC
                                    on accounts not subject to a        Compromised Payment Cards and        program. Target, ECF No. 653-1 at 12-13
                                    release. Approximately 29 million (ii) have not previously released      ¶1.41. Target additionally paid
                                    payment cards released through      Target with respect to all of the    approximately $63.5 million to financial
                                    card brand assessments. Target,     Compromised Payment Cards that       institutions through the Visa settlements. Id.
                                    ECF No. 745 at 16.                  they issued.” Target, ECF No.        at 5.
                                                                        653-1 at 8 ¶1.8.
                                                                                                             Two methods of compensation: (1) in
                                                                                                             addition to receiving automatic payments
                                                                                                             through both Visa’s GCAR and
                                                                                                             MasterCard’s ADC compensation programs,
                                                                                                             where applicable, Settlement Class
                                                                                                             Members have the option of receiving an
                                                                                                             additional “Fixed Premium” of $1.50 per
                                                                                                             claimed-on account, without having to
                                                                                                             provide any proof of loss; or (2)
                                                                                                             alternatively choose to seek 60% of all their
                                                                                                             unreimbursed fraud, card reissuance, and
                                                                                                             other out-of-pocket losses incurred between
                                                                                                             December 19, 2013, and March 31, 2014, by
                                                                                                             submitting sufficient “Documentary
                                                                                                             Support.” Id., ECF No. 745 at 4-5.
                                                                                                             Attorneys’ fees of $20 million in addition to
                                                                                                             the settlement fund. Id., ECF No. 758 at 14
                                                                                                             ¶19(h).




                                                                          1
                               Case 1:17-md-02800-TWT Document 1182-3 Filed 09/21/20 Page 3 of 9
                 CLASS ACTION SETTLEMENTS OF DATA BREACH CASES BROUGHT BY FINANCIAL INSTITUTIONS


                                          EST. NO. OF
               CASE                                                      CLASS DEFINITION                           SETTLEMENT TERMS
                                        CARDS IMPACTED

WinSouth v. Mapco Express, Inc.,   185,000 payment cards. Mapco,   Class is defined as: “[A]ll            Cash fund of $700,000 to resolve the
No. 3:14-cv-01573 (M.D. Tenn.)     ECF No. 52-1 at 11.             entities in the United States and      pending class action claims. This Settlement
(“Mapco”)                                                          its Territories that issued            fund is in addition to the $1,245,868.65 that
                                                                   payment cards identified as            MAPCO has already paid to Visa and
                                                                   potentially compromised in the         MasterCard, which in turn was passed on to
                                                                   payment card data breach that          Class members via those card brands’
                                                                   was publicly disclosed by              recovery processes that serve to partially
                                                                   MAPCO Express, Inc. . . . on or        reimburse payment card issuers for losses
                                                                   about May 6, 2013[.] Excluded          incurred when merchant computer systems
                                                                   from the Class are all entities that   are breached. Mapco, ECF No. 52-1 at 1.
                                                                   previously released MAPCO              $1,245,868.65 in assessments to Visa and
                                                                   with respect to all of the payment     MasterCard under those brands’ regulations
                                                                   cards that they issued that were       as a result of the Data Breach, which
                                                                   compromised in the Data Breach,        payments have been made to certain
                                                                   and entities that timely and           financial institutions as partial compensation
                                                                   validly request exclusion from         for their losses resulting from the data
                                                                   the Settlement Class.” Mapco,          breach. Id. at 4.
                                                                   ECF No. 48 at 1-2 ¶1.
                                                                                                          Settlement provides for two methods by
                                                                                                          which Settlement Class Members can obtain
                                                                                                          compensation. Settlement Class Members
                                                                                                          have the option of receiving an additional
                                                                                                          $3.00 per claimed-on account, without
                                                                                                          having to provide any proof of loss.
                                                                                                          Alternatively, Settlement Class Members
                                                                                                          could choose to seek up to 60% of all of
                                                                                                          their unreimbursed fraud, card reissuance,
                                                                                                          and other out-of-pocket losses incurred as a
                                                                                                          result of the MAPCO Data Breach, by
                                                                                                          submitting sufficient documentary support.
                                                                                                          This is in addition to the payments Class
                                                                                                          Members could have received through both
                                                                                                          Visa’s GCAR and MasterCard’s ADC



                                                                     2
                               Case 1:17-md-02800-TWT Document 1182-3 Filed 09/21/20 Page 4 of 9
                 CLASS ACTION SETTLEMENTS OF DATA BREACH CASES BROUGHT BY FINANCIAL INSTITUTIONS


                                          EST. NO. OF
              CASE                                                           CLASS DEFINITION                          SETTLEMENT TERMS
                                        CARDS IMPACTED
                                                                                                              compensation programs. Id. at 5-6.

                                                                                                              Mapco agreed to pay $590,000 in attorneys’
                                                                                                              fees and expenses in addition to the
                                                                                                              settlement fund. Id., ECF No. 47-1 at 16
                                                                                                              ¶7.1; id., ECF No. 68 at 1-2 ¶¶3-4.




In re Home Depot Customer Data     56 million total payment cards:     Class is defined as “All banks,        $27.25 million, including 25 million fund.
Sec. Breach Litig., No. 1:14-md-   Class settlement includes 10        credit unions, financial               Class members eligible for $2.00 per
02583 (N.D. Ga. 2015) (“Home       million unreleased payment cards.   institutions, and other entities in    unreleased card without documentation and
Depot”)                            46 million payment cards released   the United States (including its       up to 60% of unreimbursed documented
                                   through card brand assessments      Territories and the District of        losses. Home Depot agreed to pay up to
                                   and additional payout. Home         Columbia) that issued Alerted-On       $2.25 million in compensation for certain
                                   Depot, ECF Nos. 327-3, 345.         Payment Cards. Excluded from           cards that were released upon certification
                                                                       the class are entities that have       that the release resulted from insufficient
                                                                       released all of their claims against   time or information and separately pay
                                                                       Home Depot, but not excluded           reasonable attorneys’ fees and expenses.
                                                                       from the class are independent         Injunctive relief. Home Depot, ECF No. 343
                                                                       sponsored entities whose claims        at 3-5; id., ECF No. 337 at 7-9.
                                                                       were released in connection with
                                                                       Alternative Recovery Offers            Home Depot paid more than $134 million to
                                                                       made by MasterCard.” Home              financial institutions, of which $14,528,000
                                                                       Depot, ECF No. 343 at 8-9.             was specifically paid for releases of the
                                                                       “Released Card” means any              claims being asserted in connection with
                                                                       Alert-on Payment Card or               MasterCard’s ADC program and Visa’s
                                                                       Compromised Payment Card that          GCAR program: approximately $11,527,000
                                                                       is subject to a release obtained by    in connection with the GCAR program and
                                                                       Home Depot… .and that received         approximately $3,001,000 in connection
                                                                       payment by Home Depot of an            with the ADC program. Id., ECF No. 327-3
                                                                       Alternative Recovery Offer under       at 2 §I(H).


                                                                         3
                               Case 1:17-md-02800-TWT Document 1182-3 Filed 09/21/20 Page 5 of 9
                 CLASS ACTION SETTLEMENTS OF DATA BREACH CASES BROUGHT BY FINANCIAL INSTITUTIONS


                                            EST. NO. OF
               CASE                                                           CLASS DEFINITION                        SETTLEMENT TERMS
                                          CARDS IMPACTED
                                                                        the MasterCard card brand
                                                                        recovery process or an Alternative Financial institutions also received
                                                                        Recovery Amount under the Visa compensation for injuries allegedly resulting
                                                                        GCAR Program.” Id. at 6.           from the data breach under the ADC and
                                                                                                           GCAR programs for which they were not
                                                                                                           required to release any of their legal claims:
                                                                                                           approximately $79 million under the GCAR
                                                                                                           program and $41 million under the ADC
                                                                                                           program. Id. at 2 §I(I).




Greater Chautauqua Fed. Credit       8.1 million payment cards. Kmart, Class is defined as: “All entities   $5.2 million fund: Tier 1 claims:
Union v. Kmart Corp., No. 1:15-cv-   ECF No. 143 at 3.                 in the United States and its         $740,515.58; Tier 2 claims: $4,294,607.88
02228 (N.D. Ill.) (“Kmart”)                                            Territories that issued payment      (maximum Tier 1 payout of $777,484.12 and
                                                                       cards identified as having been at   a $50,000.00 collective service award).
                                                                       risk in an Alert issued by Visa or   Kmart, ECF No. 148 at 2-3.
                                                                       MasterCard as a result of the
                                                                       payment card data breach that        Tier 1: only Settlement Class Members who
                                                                       was publicly disclosed by Kmart      issued Non VisaNet Cards will be eligible to
                                                                       on October 10, 2014. Excluded        make a claim for each Non VisaNet
                                                                       from the Settlement Class are all    Compromised Payment Card that they issued
                                                                       entities that have entered into a    and for which they received an Alert related
                                                                       separate release with Kmart,         to the Data Breach. Each Settlement Class
                                                                       including American Express           Member who makes a valid claim in Tier 1
                                                                       Company and DFS Services LLC         will be eligible to receive a minimum payout
                                                                       (Discover).” Kmart, ECF No.          of $1.00 per Non VisaNet Compromised
                                                                       152 at 5 ¶10.                        Payment Card up to a maximum payout of
                                                                                                            $2.38 per card, depending on the total
                                                                                                            number of eligible claims made in this Tier.
                                                                                                            The maximum overall payment in Tier 1 will



                                                                          4
          Case 1:17-md-02800-TWT Document 1182-3 Filed 09/21/20 Page 6 of 9
 CLASS ACTION SETTLEMENTS OF DATA BREACH CASES BROUGHT BY FINANCIAL INSTITUTIONS


                    EST. NO. OF
CASE                                          CLASS DEFINITION              SETTLEMENT TERMS
                  CARDS IMPACTED
                                                                  be capped at $3.4 million. Any Settlement
                                                                  Funds remaining from Tier 1 (if fewer claims
                                                                  are made than will exhaust Tier 1) will move
                                                                  into Tier 2 and be eligible for distribution to
                                                                  any Settlement Class Member. Id., ECF No.
                                                                  96-1 at 32.

                                                                  Tier 2: consist of the remaining Settlement
                                                                  Fund (after accounting for all costs of class
                                                                  notice and settlement administration and
                                                                  service awards to the Named Plaintiffs)
                                                                  minus the payouts in Tier 1. Every
                                                                  Settlement Class Member will be eligible to
                                                                  submit claims for any remaining
                                                                  unreimbursed fraud and card reissuance
                                                                  damages related to the Data Breach by
                                                                  submitting documentation detailing such
                                                                  damages. Id.

                                                                  All eligible Class Members have
                                                                  automatically received assessment payments
                                                                  of $7,574,497.00 for Visa cards and
                                                                  $5,798,909.00 for MasterCard cards, totaling
                                                                  over $13,373,406.00. At least 256 Class
                                                                  Members made claims for the Non-GCAR
                                                                  eligible portion of the settlement, resulting in
                                                                  the maximum payout of $2.38 per card for
                                                                  those claimants. And 172 Class Members
                                                                  made claims in the Tier 2 supplemental
                                                                  damages portion of the settlement. Id., ECF
                                                                  No. 143 at 3.




                                          5
                             Case 1:17-md-02800-TWT Document 1182-3 Filed 09/21/20 Page 7 of 9
                CLASS ACTION SETTLEMENTS OF DATA BREACH CASES BROUGHT BY FINANCIAL INSTITUTIONS


                                          EST. NO. OF
             CASE                                                           CLASS DEFINITION                          SETTLEMENT TERMS
                                        CARDS IMPACTED

Veridian Credit Union v. Eddie     1.4 million payment cards. Eddie   Class is defined as: “All banks,      Settlement distributions will total at least
Bauer LLC, No. 2:17-cv-00356-JLR   Bauer, ECF No. 163 at 4, 18.       credit unions, financial              $1,000,000, but will not exceed $2,800,000.
(W.D. Wash.) (“Eddie Bauer”)                                          institutions, and other entities in   Settlement Class Members, who submit
                                                                      the United States (including its      Approved Claims, will receive $2.00 for each
                                                                      Territories and the District of       Alerted on Payment Card they identify in their
                                                                      Columbia) that issued Alerted on      Claim Form, subject to a pro rata increase if
                                                                      Payment Cards. Excluded from          the value of all Approved Claims is less than
                                                                      the Settlement Class is the judge     $1,000,000. Eddie Bauer, ECF. No. 164-1 at
                                                                      presiding over this matter and any    6 ¶33(a).
                                                                      members of his judicial staff,
                                                                      Eddie Bauer, and persons who          Payments to the Settlement Class shall be
                                                                      timely and validly request            administered on a “claims made” basis. Eddie
                                                                      exclusion from the Settlement         Bauer will fund only those Approved Claims
                                                                      Class.” Eddie Bauer, ECF No.          submitted by Settlement Class Members in
                                                                      164-1 at 6 ¶35.                       accordance with the Distribution Plan. Eddie
                                                                                                            Bauer will not be required to establish a
                                                                                                            settlement fund. Instead, the Settlement
                                                                                                            Administrator will establish an Escrow
                                                                                                            Account. Within 15 days of the establishment
                                                                                                            of the Escrow Account, Eddie Bauer will fund
                                                                                                            the account with a minimum of $1,000,000 or
                                                                                                            an amount equal to the aggregate amount of
                                                                                                            Approved Claims, whichever is more. The
                                                                                                            aggregate amount of Approved Claims shall
                                                                                                            be determined by the Settlement
                                                                                                            Administrator. The fund will be used solely
                                                                                                            for payment of Approved Claims. The fund
                                                                                                            shall not exceed an amount equal to the
                                                                                                            aggregate amount of Approved Claims or
                                                                                                            $2,800,000, whichever is less. Id. at 7 ¶39(a).

                                                                                                            Eddie Bauer will pay no more than
                                                                                                            $2,000,000 for costs associated with



                                                                        6
                              Case 1:17-md-02800-TWT Document 1182-3 Filed 09/21/20 Page 8 of 9
                 CLASS ACTION SETTLEMENTS OF DATA BREACH CASES BROUGHT BY FINANCIAL INSTITUTIONS


                                          EST. NO. OF
              CASE                                                    CLASS DEFINITION                          SETTLEMENT TERMS
                                        CARDS IMPACTED
                                                                                                      administration of settlement. These costs will
                                                                                                      be: (i) the Costs of Settlement Administration;
                                                                                                      (ii) any Court-approved Service Award to
                                                                                                      Plaintiff (not to exceed $10,000); and (iii) any
                                                                                                      Court-approved Class Counsel attorneys’ fees,
                                                                                                      costs, and expenses. Id. at 7-8 ¶39(b).




First Choice Fed. Credit Union v.  18 million payment cards.    Class is defined as: “All banks,      Wendy’s shall cause to be deposited the sum
The Wendy’s Co., No. 2:16-cv-00506 Wendy’s, ECF No. 176 at 2.   credit unions, financial              of fifty million dollars ($50,000,000.00) into
(W.D. Pa.) (“Wendy’s”)                                          institutions, and other entities in   an escrow account established by the
                                                                the United States (including its      Settlement Administrator to create the
                                                                Territories and the District of       Settlement Fund, less the Costs of Settlement
                                                                Columbia) that issued Alerted on      Administration. Wendy’s, ECF No. 176-1 at 8
                                                                Payment Cards. Excluded from          ¶40(a).
                                                                the Settlement Class is the judge
                                                                presiding over this matter and any    Disbursements from the Settlement Fund will
                                                                members of her judicial staff,        be made to (i) pay any taxes due on the
                                                                Wendy’s, and persons who timely       Settlement Fund; (ii) pay all attorneys’ fees,
                                                                and validly request exclusion         costs, and expenses approved by the Court;
                                                                from the Settlement Class.”           (iii) pay Service Awards approved by the
                                                                Wendy’s, ECF No. 176-1 at 7-8         Court; (iii) pay the Costs of Settlement
                                                                ¶38.                                  Administration; and (iv) pay Settlement Class
                                                                                                      Members as set forth in the Distribution Plan.
                                                                                                      The Parties intend that, after these payments
                                                                                                      and disbursements are made, there will be no
                                                                                                      funds remaining. Nonetheless, to the extent
                                                                                                      any funds remain, no portion of the Settlement


                                                                  7
          Case 1:17-md-02800-TWT Document 1182-3 Filed 09/21/20 Page 9 of 9
 CLASS ACTION SETTLEMENTS OF DATA BREACH CASES BROUGHT BY FINANCIAL INSTITUTIONS


                    EST. NO. OF
CASE                                          CLASS DEFINITION              SETTLEMENT TERMS
                  CARDS IMPACTED
                                                                  Fund will be returned to Wendy’s. Id. at 8-9
                                                                  ¶40(b).

                                                                  Class Counsel will ask the Court to approve,
                                                                  and Wendy’s will not oppose, Service Awards
                                                                  of $7,500 to each of the fifteen (15) Financial
                                                                  Institution Plaintiffs that were deposed and
                                                                  $2,500 to each of the remaining three (3)
                                                                  Financial Institution Plaintiffs that were not
                                                                  deposed to compensate them their efforts in
                                                                  the Litigation and commitment on behalf of
                                                                  the Settlement Class. Id. at 19 ¶66.

                                                                  Class Counsel will request 30% of the gross
                                                                  Settlement Fund, including any interest earned
                                                                  thereon, from the Court for their attorneys’
                                                                  fees and will additionally request
                                                                  reimbursement of their reasonable costs and
                                                                  expenses from the Settlement Fund. Id. at 20
                                                                  ¶67.




                                          8
